IN THE UNITED STATES DISTRICT COURT

     
  
 
 

  
  
 

UNITED STATES OF AMERICA : SUPERSEDING ogee
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Vv. : 1:19CR54-1

STEVE BRANTLEY SPENCE

The Grand Jury charges:

COUNT ONE
On or about December 3, 2018, in the County of Guilford, in the Middle
District of North Carolina, STEVE BRANTLEY SPENCE, with the intent to
cause death and serious bodily harm, did take a motor vehicle, that is, a 2015
Mercedes Benz ML350, bearing Virginia registration “4EVAMAC,” Vehicle
Identification Number 4JGDA5JB1FA574150, which had been transported,
shipped, and received in interstate and foreign commerce, from the person and
presence of another, by force and violence and by intimidation; in violation of

Title 18, United States Code, Section 2119(1).

COUNT TWO
On or about December 3, 2018, in the County of Guilford, in the Middle
District of North Carolina, STEVE BRANTLEY SPENCE did unlawfully

transport in interstate commerce a stolen motor vehicle, that is, a 2015

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Mercedes Benz ML350, ‘bearing Virginia registration “AEVAMAC,” Vehicle
Identification Number 4JGDA5JB1FA574150, from the Commonwealth of
Virginia to the State of North Carolina, knowing the same to be stolen; in |
violation of Title 18, United States Code, Section 2312.
COUNT THREE
On or about December 3, 2018, in the County of Guilford, in the Middle
District of North Carolina, STEVE BRANTLEY SPENCE did travel in
interstate commerce from Virginia Beach, in the Commonwealth of Virginia,
to Greensboro, in the State of North Carolina, with the intent to kill, injure,
harass, and intimidate A.K. and A.N., each a spouse, intimate partner, and
dating partner, as defined in Title 18, United States Code, Sections 2266(7)
and 2266(10), and in the course of and as a result of such travel and presence,
STEVE BRANTLEY SPENCE did attempt to commit a crime of violence
against each such spouse, intimate partner, and dating partner, and during
such offense did use dangerous weapons, that is, an Armscor of the Philippines
.38 caliber handgun and a Jimenez Arms 9mm handgun; in violation of Title
18, United States Code, Section 2261(a)(1) and (b)(8).
) COUNT FOUR

On or about December 3, 2018, in the County of Guilford, in the Middle

District of North Carolina, STEVE BRANTLEY SPENCE, during and in
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relation to a crime of violence for which he may be prosecuted in a court of the
United States, that is, interstate domestic violence, as more fully referenced in
Count Three of this Superseding Indictment, did knowingly carry and use, by
brandishing, firearms, that is, an Armscor of the Philippines .38 caliber
handgun and a Jimenez Arms 9mm handgun; in violation of Title 18, United
States Code, Section 924(c)(1)(A)(i).

FORFEITURE ALLEGATION

1. The factual allegation contained in Count Four of this Superseding
Indictment is realleged and by this reference fully incorporated herein for the
purpose of alleging forfeiture pursuant to Title 18, United States Code, Section,
924(d)(1).

2. Upon conviction of the offense alleged in Count Four, the
defendant, STEVE BRANTLEY SPENCE, shall forfeit to the United States,
pursuant to Title 18, United States Code, Section 924(d), all right, title and
interest in and to any firearms and ammunition involved or used in the
commission of the offense.

3. The property subject to forfeiture pursuant to paragraph 2 above
may include, but shall not be limited to, the following:

a. Jimenez Arms 9mm handgun, model J.A. Nine, serial ~

number 004695;

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Armscor of the Philippines .38 caliber handgun, model
M1911-Al FS, serial number CIT009091;

Remington Arms Company, Inc., 12 gauge shotgun, model
870 Tactical Magnum, serial number RS547487Z;

three boxes of Winchester 12 gauge buckshot;

one box of Winchester 12 gauge rifle slugs;

one box of Aguila .88 super A+P;

two boxes of Winchester .38 super auto +p;

one box of Hornaday Zombie Max bullets; and

a loaded magazine for the Armscor .38 caliber handgun.

A. If any of the property described above as being subject to forfeiture

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‘as a result of any act or omission of the defendant cannot be located upon the

exercise of due diligence, has been transferred or sold to or deposited with a

third person; has been placed beyond the jurisdiction of the Court, has been

substantially diminished in value, or has been commingled with other property

which cannot be divided without difficulty, it is the intent of the United States,

pursuant to Title 21, United States Code, Section 853(p), to seek forfeiture of

any other property of said defendant up to the value of the forfeitable property.

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Allin accordance with Title 18, United States Code, Section 924(d), Title
21, United States Code, Section 853, Rule 32.2(a), Federal Rules of Criminal

Procedure, and Title 28, United States Code, Section 2461(c).

DATED: January 31, 2020

MATTHEW G. T. MARTIN
United States Attorney

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ek: VERONICA L. EDMISTEN

 

 

BY: CLIF TON T BARRETT
Assistant United States Attorney

A TRUE BILL:

FOREPERSON \) “~~

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